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                      14
                                                UNITED STATES DISTRICT COURT
                      15
                                               CENTRAL DISTRICT OF CALIFORNIA
                      16
                      17
                           LISA KIM, individually and on behalf    Case No. CV 18-03093 JFW (AS)
                      18   of all others similarly situated,
                                                                   Hon. John F. Walter
                      19                  Plaintiff,
                                                                   NOTICE OF MOTION AND
                      20            vs.                            MOTION TO COMPEL
                                                                   ARBITRATION OR STAY UNDER
                      21   TINDER, INC., a Delaware                COLORADO RIVER ABSTENTION;
                           corporation; MATCH GROUP, LLC,
                      22   a Delaware limited liability company;   MEMORANDUM OF POINTS AND
                           MATCH GROUP, INC., a Delaware           AUTHORITIES
                      23   corporation; and DOES 1 through 10,
                           inclusive, and each of them,            [Filed concurrently with
                      24                                           1. Declaration of Jonathan Badeen;
                                          Defendants.              2. Declaration of Donald R. Brown;
                      25                                           3. Request for Judicial Notice;
                                                                   4. [Proposed] Order]
                      26
                                                                   Hearing Date:    July 16, 2018
                      27                                           Hearing Time:    1:30 p.m.
                                                                   Courtroom:       7A
                      28
M ANATT , P HELPS &
  P HILLIPS , LLP                                                        MOTION TO COMPEL ARBITRATION OR
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                       1                           NOTICE OF MOTION AND MOTION
                       2            PLEASE TAKE NOTICE that on July 16, 2018, at 1:30 p.m. in Courtroom
                       3   7A, at 350 West First Street, Los Angeles, CA 90012, defendants Tinder, Inc.,
                       4   Match Group, LLC, and Match Group, Inc. will and hereby do move this Court for
                       5   an order dismissing or staying this putative class action lawsuit. First, Defendants
                       6   move under the Federal Arbitration Act, 9 U.S.C. § 3, to compel plaintiff Lisa Kim
                       7   to pursue her claim, if at all, in arbitration and on an individual basis only, on the
                       8   grounds that the claim is subject to a mandatory arbitration agreement and class
                       9   waiver in the Terms of Use for the mobile app at issue in this case. Second,
                      10   Defendants move, in the alternative, for a stay under Colorado River Water
                      11   Conservation Dist. v. United States, 424 U.S. 800 (1976), based on a previously
                      12   filed state court action, Candelore v. Tinder, Inc., Superior Court of California,
                      13   County of Los Angeles, Case No. BC583162, that involves the same claim on
                      14   behalf of the same putative class.
                      15            This Motion is based on this Notice of Motion and Motion, the attached
                      16   Memorandum of Points and Authorities, the concurrently-filed Declarations of
                      17   Jonathan Badeen and Donald R. Brown, the concurrently-filed Request for Judicial
                      18   Notice, all papers on file with the Court, and all evidence and argument presented at
                      19   or before the hearing on this Motion.
                      20            This Motion is made following the conference of counsel pursuant to L.R. 7-
                      21   3 on June 1, 2018.
                      22
                           Dated:        June 11, 2018               MANATT, PHELPS & PHILLIPS, LLP
                      23
                      24
                                                                     By:/s/ Robert H. Platt
                      25                                                Robert H. Platt
                                                                        Attorneys for Defendants
                      26                                                TINDER, INC., MATCH GROUP,
                                                                        LLC, and MATCH GROUP, INC.
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                       1                   MEMORANDUM OF POINTS AND AUTHORITIES
                       2   I.       INTRODUCTION
                       3            Plaintiff Lisa Kim asserts a single claim under California’s Unruh Civil
                       4   Rights Act for age discrimination on the grounds that users of the Tinder dating app
                       5   over the age of 30 are charged a higher price than the discounted price charged to
                       6   younger users for access to premium features of the app. Plaintiff, on behalf of a
                       7   putative class, has sued Tinder, Inc., Match Group, LLC, and Match Group, Inc.
                       8   (collectively, “Tinder”).1
                       9            Tinder moves to compel arbitration because Plaintiff agreed to Tinder’s
                      10   Terms of Use (“TOU”), and the arbitration agreement that is part of the TOU
                      11   requires arbitration of this dispute. Plaintiff agreed to the TOU by tapping a “Log
                      12   In” button on her phone next to a disclosure—which contained a hyperlink to the
                      13   TOU—stating that tapping the button would constitute assent to the TOU. That is
                      14   all Tinder need demonstrate for purposes of this motion. The secondary question of
                      15   whether the claim itself is arbitrable need not be reached because the arbitration
                      16   agreement delegates that question to the arbitrator. In any event, the claim is, in
                      17   fact, arbitrable because the arbitration agreement covers any claim regarding
                      18   Tinder’s services.
                      19            As an alternative to compelling arbitration, the Court may, and should, stay
                      20   this action under the Colorado River abstention doctrine. A parallel putative class
                      21   action—Candelore v. Tinder, Inc.—has been pending in state court since 2015 and
                      22   involves the same claim on behalf of the same putative class under the same theory
                      23   of liability.   The Colorado River factors heavily favor abstention under these
                      24   circumstances.
                      25   1
                                 Match Group, LLC, which is owned by Match Group, Inc., now owns all of
                      26   Tinder Inc.’s assets, including Tinder. (Declaration of Jonathan Badeen, ¶ 3.)
                      27   There is no need for purposes of this motion to distinguish among these three
                           defendants.
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                       1   II.      PLAINTIFF MUST ARBITRATE HER CLAIM
                       2            A.    Legal Standard
                       3            Tinder’s arbitration agreement—addressed in detail below—provides that it
                       4   is governed by the Federal Arbitration Act, 9 U.S.C. § 1 et seq. (“FAA”).
                       5   (Declaration of Jonathan Badeen (“Badeen Decl.”), Ex. 1, ¶ 18, Ex. 2, ¶ 19.) An
                       6   FAA choice-of-law provision in an arbitration agreement is enforceable. Brennan
                       7   v. Opus Bank, 796 F.3d 1125, 1129-31 (9th Cir. 2015). Moreover, the FAA would
                       8   govern here even without a choice-of-law provision because Tinder’s TOU
                       9   “evidenc[es] a transaction involving commerce.” 9 U.S.C. § 2; see Chiron Corp. v.
                      10   Ortho Diagnostic Sys., Inc., 207 F.3d 1126, 1130 (9th Cir. 2000).
                      11            “The FAA provides that any arbitration agreement within its scope ‘shall be
                      12   valid, irrevocable, and enforceable.’” Chiron, 207 F.3d at 1130 (quoting 9 U.S.C. §
                      13   4).     On a motion to compel arbitration, a district court’s role is limited to
                      14   determining whether a valid agreement to arbitrate exists and—unless the question
                      15   is contractually delegated to the arbitrator instead—determining whether the
                      16   agreement encompasses the parties’ dispute. See id.; Brennan, 796 F.3d at 1132 (“a
                      17   court must enforce an agreement that . . . clearly and unmistakably delegates
                      18   arbitrability questions to the arbitrator”).    The FAA “leaves no place for the
                      19   exercise of discretion by the district court.” Dean Witter Reynolds Inc. v. Byrd, 470
                      20   U.S. 213, 218 (1985).       Rather, “the [FAA] requires the court to enforce the
                      21   arbitration agreement in accordance with its terms.” Chiron, 207 F.3d at 1130.
                      22            As discussed below, Tinder’s arbitration agreement is enforceable, and the
                      23   agreement delegates the question of arbitrability to the arbitrator.
                      24            B.    The Tinder App
                      25            Tinder is a free, smartphone-based dating app. (Badeen Decl., ¶¶ 2-3.) The
                      26   app displays profiles of other users and allows a user to swipe right on another
                      27   user’s profile to express interest or left to express disinterest. (Id., ¶ 2.) If two
                      28   users express mutual interest, they can then communicate within the app. (Id.) In
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                       1   March 2015, Tinder released a suite of premium features called Tinder Plus that is
                       2   available for a monthly fee. (Id.)
                       3            C.    Tinder’s TOU Includes a Valid Arbitration Agreement
                       4            Tinder has always required a user to create an account before accessing any
                       5   feature of the app. (Badeen Decl., ¶ 4.) Permission to create an account and use
                       6   the app has, in turn, always been conditioned on the user’s agreement to the TOU.
                       7   (Id.) The TOU has always been available for review any time within the app. (Id.)
                       8            Since 2014, the TOU has included an arbitration agreement that requires all
                       9   disputes (except small-claims matters) arising out of or relating to the TOU or
                      10   Tinder’s services to be resolved through binding arbitration, and waives any right to
                      11   participate in a class or representative action:
                      12                  Arbitration Agreement. The exclusive means of
                      13                  resolving any dispute or claim arising out of or relating to
                      14                  this Agreement (including any alleged breach thereof) or
                      15                  the   Service      shall   be   BINDING       ARBITRATION
                      16                  administered by the American Arbitration Association.
                      17                  The one exception to the exclusivity of arbitration is that
                      18                  you have the right to bring an individual claim against the
                      19                  Company       in   a   small-claims   court    of   competent
                      20                  jurisdiction. But whether you choose arbitration or small-
                      21                  claims court, you may not under any circumstances
                      22                  commence or maintain against the Company any class
                      23                  action, class arbitration, or other representative action or
                      24                  proceeding.
                      25   (Badeen Decl., ¶ 5 and Ex. 1, ¶ 18, Ex. 2, ¶ 19 (emphasis in original).)
                      26            The TOU also explains, in plain language, the implications of the arbitration
                      27   agreement and class waiver:
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                       1                  By using the Service in any manner, you agree to the
                       2                  above arbitration agreement. In doing so, YOU GIVE UP
                       3                  YOUR RIGHT TO GO TO COURT to assert or defend
                       4                  any claims between you and the Company (except for
                       5                  matters that may be taken to small-claims court). YOU
                       6                  ALSO GIVE UP YOUR RIGHT TO PARTICIPATE IN
                       7                  A    CLASS       ACTION        OR    OTHER       CLASS
                       8                  PROCEEDING.       Your rights will be determined by a
                       9                  NEUTRAL ARBITRATOR, NOT A JUDGE OR JURY.
                      10   (Id. (emphasis in original).)
                      11            D.    Plaintiff Assented to the TOU
                      12            Plaintiff created a Tinder account on October 10, 2013. (Badeen Decl., ¶ 7.)
                      13   On April 13, 2015, Plaintiff created a second account, which appears to be the
                      14   account at issue in this case. (Id.) On July 31, 2015, Tinder added a disclosure to
                      15   its login screen that informed users that by continuing to use the service, they were
                      16   agreeing to Tinder’s TOU. (Id., ¶ 6.) The screen, an image of which is displayed
                      17   below, stated that by tapping Log In, the user agrees to the TOU. The disclosure
                      18   was directly above the Log In button and provided a clear hyperlink in the
                      19   disclosure to the then-current TOU.
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                      16   (Id., ¶ 6 and Ex. 3.) Thus, since July 31, 2015 and up until she filed her lawsuit on
                      17   April 12, 2018, every time Plaintiff logged in to her Tinder account, her login
                      18   constituted assent to the TOU, including the arbitration agreement.
                      19            On February 21, 2017, Plaintiff purchased a subscription to Tinder Plus. (Id.,
                      20   ¶ 7.) Two days later, Plaintiff tapped to log in to her account, and thereby agreed to
                      21   the TOU. (Id.) Two weeks after that, on March 4, 2017, Plaintiff tapped the Log
                      22   In button again and thus agreed again to the TOU. (Id.)2 As discussed below,
                      23   Plaintiff thereby assented to and is bound by the TOU.
                      24
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                      26          The arbitration provisions, quoted supra at II.C, were identical at the time
                      27   Plaintiff created her account in 2015 and logged in and agreed to the TOU in 2017.
                           (Badeen Decl., Ex. 1, ¶ 18, Ex. 2, ¶ 19.)
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                       1            E.    Plaintiff’s Assent to the TOU Is Enforceable
                       2            There are three generally recognized methods of obtaining consent to terms
                       3   of use: clickwrap, browsewrap, and a hybrid known as “browsewrap-that-
                       4   resembles-clickwrap” or “sign-up wrap.” In a clickwrap agreement, “users are
                       5   required to click on an ‘I agree’ box after being presented with the list of terms and
                       6   conditions of use.” Nguyen v. Barnes & Noble Inc., 763 F.3d 1171, 1175-76 (9th
                       7   Cir. 2014). In a browsewrap agreement, by contrast, a user is “not require[d] [] to
                       8   manifest assent to the terms and conditions expressly . . . A party instead gives his
                       9   assent simply by using the website.” Hines v. Overstock.com, Inc., 668 F. Supp. 2d
                      10   362, 366-67 (E.D.N.Y. 2009).3
                      11            Tinder uses the hybrid method known as sign-up wrap. In a sign-up wrap
                      12   agreement, the consumer must click an “I agree” box or otherwise clearly manifest
                      13   consent to the terms of use, while the terms themselves are accessible via hyperlink.
                      14   Nguyen, 763 F.3d at 1176-77. Plaintiff manifested consent by tapping the Tinder
                      15   Log In button directly below a disclosure clearly explaining that doing so
                      16   constituted agreement to the TOU, which itself was accessible via a hyperlink in the
                      17   disclosure. (Badeen Decl., ¶ 6.)
                      18            This method of assent is fully enforceable. See Nguyen, 763 F.3d at 1177;
                      19   Graf v. Match.com, LLC, 2015 WL 4263957, at *4 (C.D. Cal. July 10, 2015)
                      20   (compelling arbitration where user registered for account by clicking “Continue”
                      21   button adjacent to hyperlink to terms of use that contained arbitration provision);
                      22   Hubbert v. Dell Corp., 359 Ill. App. 3d 976, 984 (2005) (compelling arbitration
                      23   based on arbitration provision in terms of use accessible via hyperlink on order
                      24   pages—applying Texas law); Fteja v. Facebook, Inc., 841 F. Supp. 2d 829, 841
                      25   3
                                 A browsewrap agreement is enforceable if the user “has actual or
                      26   constructive knowledge of a website’s terms and conditions.” Nguyen, 763 F.3d at
                      27   1176 (quoting Van Tassell v. United Mktg. Grp., LLC, 795 F. Supp. 2d 770, 790
                           (N.D. Ill. 2011)).
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                       1   (S.D.N.Y. 2012) (plaintiff bound by terms of use accessible via hyperlink above
                       2   “Sign Up” button); Major v. McCallister, 302 S.W.3d 227, 231 (Mo. Ct. App.
                       3   2009) (plaintiff bound by terms of use accessible via hyperlink next to registration
                       4   button); Guadagno v. E*Trade Bank, 592 F. Supp. 2d 1263, 1271 (C.D. Cal. 2008)
                       5   (compelling arbitration where registration page contained “a highlighted,
                       6   underlined link to the [terms of use including an arbitration] Agreement . . . directly
                       7   above the acknowledgment box”); Bassett v. Elec. Arts, Inc., 93 F. Supp. 3d 95, 104
                       8   (E.D.N.Y. 2015) (plaintiff bound by terms of use accessible via hyperlink when
                       9   registering for online account—applying California law).4
                      10            The agreement at issue is not a browsewrap agreement; Plaintiff was not told
                      11   she assented to the TOU simply by passively using the Tinder app. Instead, she
                      12   affirmatively assented to the TOU by tapping the “Log In” button to continue using
                      13   the app on a page clearly displaying the notice: “By tapping Log In, you agree to
                      14   our Terms of Use and Privacy Policy.” Only by tapping “Log In” does the user
                      15   assent. Therefore, Plaintiff is bound by the TOU, including its arbitration and
                      16   class-action waiver provisions.
                      17            F.    The Court Need Not Determine Arbitrability
                      18            The arbitration agreement states that claims or disputes between the parties
                      19   shall be determined in arbitration administered by the American Arbitration
                      20   Association (“AAA”). (Badeen Decl., Ex. 1, ¶ 18, Ex. 2, ¶ 19.) The agreement
                      21   contains a hyperlink, labeled “Arbitration Procedures,” to the AAA Consumer
                      22
                           4
                                  The TOU contains a Texas choice-of-law provision. (Badeen Decl., Ex. 1, ¶
                      23
                           18(d), Ex. 2 ¶ 19.) That said, both Texas and California law, as well as federal law,
                      24   support enforcement of the TOU’s arbitration agreement. The Court therefore need
                           not undertake a choice-of-law analysis—an analysis that can be a circular exercise
                      25
                           under these circumstances with no clear answer. See Nguyen, 763 F.3d at 1175. In
                      26   any case, however, the class-action waiver is enforceable regardless of any
                      27   conflicting state laws. See AT&T Mobility LLC v. Concepcion, 563 U.S. 333, 341
                           (2011); Southland Corp. v. Keating, 546 U.S. 1, 12 (1984).
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                       1   Arbitration Rules that govern any such arbitration. (Id.) Those Rules state that the
                       2   question of arbitrability is for the arbitrator—and, thus, not for the court. (See
                       3   Request for Judicial Notice (“RJN”), Ex. 1, R-14(a).) A provision delegating the
                       4   question of arbitrability to the arbitrator is enforceable. Brennan, 796 F.3d at 1130
                       5   (“[I]ncorporation of the AAA rules constitutes ‘clear and unmistakable’ evidence
                       6   that the parties intended to delegate the arbitrability question to an arbitrator[.]”)
                       7   (quoting standard from AT&T Techs., Inc. v. Commc’ns Workers of Am., 475 U.S.
                       8   643, 649 (1986)); see also Cordas v. Uber Techs, Inc., 228 F. Supp. 3d 985, 991-92
                       9   (N.D. Cal. 2017) (same).
                      10            Accordingly, the Court need not, and should not, determine whether this case
                      11   is within the scope of the parties’ arbitration agreement, as that determination has
                      12   been delegated to the arbitrator instead. But as discussed below, even if the
                      13   question of arbitrability were properly before the Court, it is clear that the
                      14   arbitration agreement encompasses the claim at issue in this case.
                      15            G.    Nonetheless, This Case Is Subject to the Arbitration Agreement
                      16            Plaintiff agreed to arbitrate “any dispute or claim arising out of or relating to
                      17   this Agreement (including any breach thereof) or the Service . . . . “ (Badeen Decl.,
                      18   ¶ 5 and Ex. 1 at ¶ 19.) In this case, she claims that Tinder violated the Unruh Act
                      19   by charging her a higher fee for Tinder Plus based on her age. (Compl., ¶ 28.)
                      20            Plaintiff’s claim is subject to the arbitration agreement because it “arise[s]
                      21   out of or relate[s] to” the “Service.” The TOU defines “Service” broadly to include
                      22   almost any user interaction with Tinder. (Exs. 1-2 at Recitals.) Courts, in turn,
                      23   broadly interpret the phrase “arising out of or relating to.” See Selden v. Airbnb,
                      24   Inc., 2016 WL 6476934, at *6 (D.D.C. Nov. 1, 2016) (compelling arbitration
                      25   pursuant to website’s sign-in wrap agreement, noting that “[c]ourts applying
                      26   California law interpret the language ‘arising out of or relating to’ very broadly”);
                      27   see also Rice v. Downs, 247 Cal. App. 4th 1213, 1224 (2016) (“To require
                      28   arbitration, the factual matters need only touch matters covered by the contract
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                       1   containing the arbitration clause and all doubts are to be resolved in favor of
                       2   arbitrability.”).
                       3            Furthermore, Plaintiff’s claim is subject to the arbitration agreement even if
                       4   one assumes that she purchased her subscription to Tinder Plus two days before she
                       5   agreed to the TOU for the first time. 5 Courts regularly apply broadly worded
                       6   arbitration agreements like this one to claims based on events that preceded the
                       7   plaintiff’s assent to the agreement. See, e.g., Arriaga v. Cross Country Bank, 163
                       8   F. Supp. 2d 1189, 1192 (S.D. Cal. 2001), disapproved on other grounds by Ting v.
                       9   AT&T, 319 F.3d 1126 (9th Cir. 2003) (compelling arbitration and holding that
                      10   “[t]he fact that some of Arriaga’s claims may stem from events that occurred before
                      11   the arbitration clause took effect does not foreclose the possibility that those claims
                      12   relate to the Agreement, and thus fall under the arbitration clause’s broad scope”
                      13   (emphasis in original)); Jones v. Deja Vu, Inc., 419 F. Supp. 2d 1146, 1150 (N.D.
                      14   Cal. 2005) (“Where an arbitration provision does not contain a temporal limitation,
                      15   the parties may be compelled to arbitrate despite the fact that the challenged
                      16   conduct predates the signing of the agreement.”); In re Verisign, Inc., Derivative
                      17   Litig., 531 F. Supp. 2d 1173, 1224 (N.D. Cal. 2007) (enforcing application of
                      18   arbitration agreement to services performed during prior years); Trujillo v. Gomez,
                      19   2015 WL 1757870, at *8 (S.D. Cal. Apr. 17, 2015) (“Without citing any authority,
                      20   Plaintiffs argue that the current dispute does not fall within the scope of the
                      21   arbitration clause because the underlying events took place before the Shareholder
                      22   Agreement was executed. Plaintiffs are incorrect.”).
                      23
                      24
                      25
                      26   5
                                 Plaintiff doubtlessly logged in to her Tinder account on many occasions
                      27   during the period from July 31, 2015 to her purchase of a Tinder Plus subscription
                           on February 21, 2017, regardless of whether such logins were captured in Tinder’s
                      28   database. (See Badeen Decl., ¶ 8.)
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                       1            H.    The Court Should Dismiss or Stay This Lawsuit
                       2            The FAA permits a court to stay a lawsuit in deference to an arbitration
                       3   agreement “upon being satisfied that the issue involved in such suit or proceeding is
                       4   referable to arbitration under such an agreement.” 9 U.S.C. § 3. “In the Federal
                       5   Arbitration Act, Congress has instructed federal courts to enforce arbitration
                       6   agreements according to their terms—including terms providing for individualized
                       7   proceedings.”      Epic Sys. Corp. v. Lewis, No. 16-285, __ U.S. __, 2018 WL
                       8   2292444, at *3 (May 21, 2018). Because Tinder’s arbitration agreement is binding
                       9   and enforceable, this action should be stayed or dismissed in favor of arbitration.
                      10   III.     ALTERNATIVELY, THIS ACTION SHOULD BE STAYED ON
                                    ABSTENTION GROUNDS
                      11
                      12            In the event the Court does not compel arbitration, it should instead stay this
                      13   case (Kim) pursuant to the Colorado River abstention doctrine, pending resolution
                      14   of a pre-existing, and parallel, case in state court (Candelore).
                      15            A.    The Candelore Action
                      16            In May 2015, another Tinder user, Allan Candelore, filed a purported class
                      17   action against Tinder, Inc. in California state court.6 (See RJN, Ex. 2 [Complaint in
                      18   Candelore v. Tinder, Inc., Superior Court of California, County of Los Angeles,
                      19   Case No. BC583162].)7 Like Plaintiff, Candelore claims that Tinder violated the
                      20   Unruh Act by charging a higher fee to users over 30 for Tinder Plus. (Id., ¶¶ 1-2.)
                      21   And as in Kim, the putative class in Candelore consists of California consumers
                      22   who subscribed to Tinder Plus at the higher fee for older users. (Id., ¶ 23.)
                      23
                           6
                      24         Candelore was filed before Tinder, Inc. merged into Match Group, LLC and
                           therefore does not name the Match Group companies as defendants.
                      25
                           7
                      26          The records of the Superior Court are subject to judicial notice. See, e.g.,
                      27   Torres v. Carescope, LLC, 2016 WL 2743479, *1 n.1 (E.D. Cal. May 11, 2016)
                           (citing Emrich v. Touche Ross & Co., 846 F.2d 1190, 1198 (9th Cir. 1988)).
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                       1            B.    The Court May Defer to Parallel State Proceedings under the
                                          Colorado River Doctrine
                       2
                       3            In certain circumstances, “a federal court may decline to exercise its
                       4   ‘virtually unflagging obligation’ to exercise federal jurisdiction, in deference to
                       5   pending, parallel state proceedings.” Montanore Minerals Corp. v. Bakie, 867 F.3d
                       6   1160, 1165 (9th Cir. 2017) (quoting Colorado River Water Conservation Dist. v.
                       7   United States, 424 U.S. 800, 817 (1976)). Granting a stay under the Colorado
                       8   River doctrine “rest[s] on considerations of wise judicial administration, giving
                       9   regard to conservation of judicial resources and comprehensive disposition of
                      10   litigation.” Colorado River, 424 U.S. at 817 (internal quotations marks omitted).
                      11   The doctrine “does not rest on a mechanical checklist, but on a careful balancing of
                      12   the important factors as they apply in a given case, with the balance heavily
                      13   weighted in favor of the exercise of jurisdiction.” Moses H. Cone Mem’l Hosp. v.
                      14   Mercury Constr. Corp., 460 U.S. 1, 16 (1983).
                      15            The threshold issue for invoking Colorado River abstention is whether there
                      16   is a parallel proceeding in state court. E.g., ScripsAmerica, Inc. v. Ironridge Global
                      17   LLC, 56 F. Supp. 3d 1121, 1147 (C.D. Cal. 2014). “[E]xact parallelism [between
                      18   the two suits] . . . is not required.       It is enough if the two proceedings are
                      19   ‘substantially similar.’” Id. (quoting Nakash v. Marciano, 882 F.2d 1411, 1416
                      20   (9th Cir. 1989)). Candelore is parallel, indeed virtually identical, to Kim because it
                      21   involves the same purported class and the same alleged age discrimination claim
                      22   under the same state statute. (See RJN, Ex. 2, ¶¶ 1-2, 23.)
                      23            Where, as here, there is a parallel state court proceeding, the Ninth Circuit
                      24   applies an eight-factor balancing test to determine whether Colorado River
                      25   abstention applies:
                      26                  (1) which court first assumed jurisdiction over any
                      27                  property at stake; (2) the inconvenience of the federal
                      28                  forum; (3) the desire to avoid piecemeal litigation; (4) the
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                       1                  order in which the forums obtained jurisdiction; (5)
                       2                  whether federal law or state law provides the rule of
                       3                  decision on the merits; (6) whether the state court
                       4                  proceedings can adequately protect the rights of the
                       5                  federal litigants; (7) the desire to avoid forum shopping;
                       6                  and (8) whether the state court proceedings will resolve
                       7                  all issues before the federal court.
                       8   Montanore, 867 F.3d at 1166 (quoting R.R. Street & Co. v. Transport Ins. Co., 656
                       9   F.3d 966, 978 (9th Cir. 2011)).
                      10            The first two factors are inapplicable here and need not be considered.8 See
                      11   Montanore, 867 F.3d at 1166 (“Some factors may not apply in some cases . . . .”).
                      12   The remaining factors, however, demonstrate that a stay is warranted.
                      13                  1.    The Desire to Avoid Piecemeal Litigation
                      14            “Piecemeal litigation occurs when different tribunals consider the same issue,
                      15   thereby duplicating efforts and possibly reaching different results.” American Int’l
                      16   Underwriters, (Philippines), Inc. v. Continental Ins. Co., 843 F.2d 1253, 1258 (9th
                      17   Cir. 1988). In order to favor a stay, “the case must raise a special concern about
                      18   piecemeal litigation, which can be remedied by staying or dismissing the federal
                      19   proceeding [and which] the court could [not] have avoided by other means.” R.R.
                      20   Street, 656 F.3d at 979 (internal quotation marks and citation omitted).
                      21            Here, both courts would need to review the same facts and determine the
                      22   same issues in order to resolve their respective cases. Staying Kim until Candelore
                      23   is resolved would therefore avoid duplicative and potentially divergent
                      24   determinations on identical issues in parallel proceedings. This factor strongly
                      25   favors a stay.
                      26
                           8
                      27         The first factor is irrelevant because there is no specific property at issue.
                           The second factor is irrelevant because both the federal and state forums are located
                      28   in Los Angeles. See R.R. Street, 656 F.3d at 979.
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                       1                  2.    The Order in Which the Forums Obtained Jurisdiction
                       2            Next, the court “consider[s] not only the order [in which the forums gained
                       3   jurisdiction], but also the relative progress of the state and federal proceedings.”
                       4   Montanore, 867 F.3d at 1168. Candelore has been pending for three years and has
                       5   undergone significant motion and appellate practice. (RJN, Ex. 3.) On the other
                       6   hand, due to the appellate proceedings, there has been no discovery. On balance,
                       7   this factor weighs in favor of a stay, but not heavily in favor, due to the much
                       8   longer pendency of Candelore.
                       9                  3.    Whether Federal or State Law Governs the Claim
                      10            This factor favors a stay where there are state-law questions and “the state
                      11   law questions are themselves complex and difficult issues better resolved by a state
                      12   court . . . .” Seneca Ins. Co. v. Strange Land, Inc., 862 F.3d 835, 844 (9th Cir.
                      13   2017). Both cases concern whether Tinder’s age-based pricing violates the Unruh
                      14   Act and what standard applies for making that determination. These issues depend
                      15   entirely on the application of a California statute that has received conflicting
                      16   judicial interpretations, and thus this factor weighs heavily in favor of a stay.
                      17                  4.    Whether the State Court Proceedings Can Adequately
                                                Protect the Rights of the Federal Litigants
                      18
                      19            “When it is clear that the state court has authority to address the rights and
                      20   remedies at issue, this factor may weigh in favor of a stay.” Montanore, 867 F.3d
                      21   at 1169. The state court in Candelore clearly has authority to fully address the
                      22   Unruh Act claim, and therefore this factor weighs heavily in favor of a stay.
                      23                  5.    The Desire to Avoid Forum Shopping
                      24            Next, the Court considers whether a plaintiff has engaged in forum shopping.
                      25   The fact that this case was filed in this Court even though a substantially identical
                      26   case was already pending in state court—a case in which the named plaintiff here
                      27   already is a member of the putative class—suggests that the filing of this case is the
                      28   result of forum shopping. See Ross, 542 F. Supp. 2d at 1022 (“This Court will not
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                       1   encourage forum shopping by allowing a substantially similar federal action to
                       2   proceed.”). Although there may be no reason to “assume an insidious motive,” this
                       3   factor nonetheless militates in favor of a stay. See Torres, 2016 WL 2743479, at
                       4   *4.
                       5                  6.    Whether the State Court Proceedings Will Resolve All Issues
                                                Before the Federal Court
                       6
                       7            The final factor in the Colorado River analysis is “whether the state court
                       8   proceeding sufficiently parallels the federal proceeding in order to ensure
                       9   comprehensive disposition of litigation.” Montanore, 867 F.3d at 1170 (internal
                      10   quotation marks omitted). This factor is satisfied so long as “the proceedings are
                      11   ‘substantially similar’”—”exact parallelism” is not necessary. Id. (quoting Nakash,
                      12   882 F.2d at 1416). The Ninth Circuit has held that suits were “sufficiently parallel
                      13   because they concerned the same relevant conduct and named the same pertinent
                      14   parties.” Id. (citing Nakash, 882 F.2d at 1416-17).
                      15            Although exact parallelism is not required, it exists here nonetheless. Both
                      16   cases assert the same state statutory claim for age discrimination on behalf of the
                      17   same putative class. (Compare Compl., ¶ 32 with RJN, Ex. 2, ¶ 28.) The only
                      18   difference between the two cases is the named plaintiff, but that is a distinction
                      19   without a difference—Plaintiff here would be a member of the Candelore class and
                      20   vice versa (subject to any obligation to arbitrate the dispute instead). See Ross, 542
                      21   F. Supp. 2d at 1022 (federal class action sufficiently parallel to state-court class
                      22   action with same class but different named plaintiffs). Resolution of Candelore
                      23   would comprehensively dispose of this case.
                      24   IV.      CONCLUSION
                      25            Defendants respectfully request that the Court dismiss or, in the alternative,
                      26   stay this action (see Friedman v. Guthy-Renker LLC, 2015 WL 857800, at *3 (C.D.
                      27   Cal. Feb. 27, 2015)), and order that Plaintiff pursue her claims, if at all, in
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                       1   arbitration and on an individual basis only. In the alternative, Defendants request
                       2   that the Court stay this action pursuant to its discretion under Colorado River.
                       3
                       4   Dated:        June 11, 2018               MANATT, PHELPS & PHILLIPS, LLP
                       5
                       6                                             By:/s/ Robert H. Platt
                                                                        Robert H. Platt
                       7                                                Attorneys for Defendants
                                                                        TINDER, INC., MATCH GROUP,
                       8                                                LLC, and MATCH GROUP, INC.
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